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                       EXHIBIT C
         Case 4:21-cv-00734 Document 1-3 Filed on 03/05/21 inRECEIVED
                                                              TXSD 1/20/2021
                                                                      Page 2 of 2 PM
                                                                             4:49
                                                                    2020-DCL-05830 / 49880302
                                                                    LAURA PEREZ-REYES
                                                                    Cameron County District Clerk
                                                                    By Vilma Garcia Deputy Clerk
                                      CAUSE NO.: 2020-PCL-05830

 SANTIAGO ESEQUIEL CASTILLO                      §    IN THE 445TH JUDICIAL DISTRICT
                                                 §
                                                 §
VS.                                              §    COURT OF
                                                 §
                                                 §
AARON'S, L.L.C. AND JAMES M. DAY, JR. §               CAMERON COUNTY, TEXAS

           ORDER SETTING TELEPHONIC DOCKET CONTROL CONFERENCE

       On this th e _____day o f ____________________ , 2021, Plaintiff's Motion for Telephonic

Docket Control Conference, having been presented to the Court, and the Court being of the

opinion that same should be granted;

      It is therefore ORDERED that a Telephonic Docket Control Conference be held on the

12th
_____day      February
         o f ____________________             11:00 lo c k __a.m.
                                  , 2021, a t _____o’c

      Signed th is_____day
                   25th    o f ____________________
                                  January           , 2021.


        FILED
        2020-DCL-05830
        January 25, 2021             4:11 pm
        LAURA PEREZ-REYES                            JUDGE PRESIDING
        CAMERON COUNTY DISTRICT CLERK
        BY: Garcia, Vilma




      01/25/2021

cc:   Michael J. Cisneros; email@cisneroslawfirm.com
      Maryalyce W. Cox; maryalycecox@mehaffyweber.com
      James M Day Jr (Copy Mailed)
